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                                                       U.S. Department of Justice

                                                       CHANNING D. PHILLIPS
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                     June 7, 2021
VIA EMAIL

Lawrence Wolf Levin
Law Office of Lawrence Wolf Levin


       Re:     United States v. Lyons
               Case No. 21-cr-79-BAH
               Discovery Letter No. 2

Dear Mr. Levin:

       This is to memorialize the following preliminary discovery sent you on May 25, 2021,
June 2, 2021, and June 7, 2021, via USAFX which contained the following materials:

       20210106_142705.mp4
       20210106_144426.mp4
       20210106_143842.mp4
       Search Warrant Photographs (247 photographs)
       21M11 - House_1 HIGHLY SENSITIVE
       21M12 - Vehicle 1_1 HIGHLY SENSITIVE
       21M13 - Vehicle 2_1 HIGHLY SENSITIVE
       21M14 - Person_1 HIGHLY SENSITIVE
       Report of stolen wallet_Redacted
       Serial GJ 02 SENSITIVE
       02_1A_01_02 through 1A_01_04 SENSITIVE
       _Facebook Case #6037343_SENSITIVE
       Serial 9_1A_04_01 through 1A_04_04

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
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facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Monica A. Stump
                                                      Monica A. Stump
                                                      Assistant United States Attorney



Enclosure(s)




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